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                   Exhibit 2 to Notice of Removal
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                                   CAUSE NO. CL-17-3653-E

GARMAN INVESTMENTS LLP,                        §             IN THE COUNTY COURT
                                               §
vs.                                            §                AT LAW NUMBER 5
                                               §
ARCH SPECIALTY INSURANCE                       §
COMPANY and MELANIE LABRIE                     §
                                               §           HIDALGO COUNTY, TEXAS

                           DEFENDANTS’ ORIGINAL ANSWER

        Defendants Arch Specialty Insurance Company and Melanie Labrie file their Original

Answer to Plaintiff’s Original Petition, and would show:

                                     GENERAL DENIAL

        1.     Pursuant to Texas Rule of Civil Procedure 92, Defendants deny each and every,

all and singular, material allegations contained in Plaintiff’s Original Petition, and any

supplements or amendments thereto, and demand strict proof of each and every allegation by a

preponderance of the evidence.

                                 REQUEST FOR DISCLOSURE

        2.     Defendants hereby request that Plaintiff respond so as to provide the information

required by Rule 194.2 of the Texas Rules of Civil Procedure within thirty (30) days.

                                            PRAYER

        Defendants Arch Specialty Insurance Company and Melanie Labrie pray that the court,

after notice and hearing or trial, enter judgment in favor of Defendants, award Defendants the

costs of court, attorneys’ fees, and such other and further relief as Defendants may be entitled to

in law or in equity.
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                                                              Respectfully submitted,

                                                              GORDON & REES LLP
                                                              By:     /s/ Christopher M. Raney
                                                                      CHRISTOPHER M. RANEY
                                                                      State Bar No. 24051228
                                                                      craney@gordonrees.com
                                                                      1900 West Loop South, Suite 1000
                                                                      Houston, Texas 77027
                                                                      (713) 961-3366 – Telephone
                                                                      (713) 961-3938 – Facsimile

                                                              ATTORNEY FOR DEFENDANTS


                                                 CERTIFICATE OF SERVICE

                         I certify that a true and correct copy of the foregoing document was duly served upon the
                  following, via electronic filing, on this the 2nd day of October, 2017, as follows:

                         Via Email:
                         Douglas E. Pennebaker
                         Jose G. Gonzalez
                         Pennebaker Law Firm
                         1045 Cheever Blvd., Suite 103
                         San Antonio, Texas 78217
                         Counsel for Plaintiff


                                                                      /s/ Christopher M. Raney
                                                                      CHRISTOPHER M. RANEY




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                                                                                          Hidalgo County Clerks Office
                                                                                        Accepted by: Norma Harlow


                                CAUSE NUMBER CL-17-3653-E

 GARMAN INVESTMENTS LLP,          §                                   IN THE COUNTY COURT
                                  §
                                  §
     Plaintiff,                   §
                                  §                                         AT LAW NUMBER 5
 vs.                              §
                                  §
 ARCH         SPECIALTY INSURANCE §
 COMPANY and MELANIE LABRIE,      §
                                  §
     Defendants                   §                                HIDALGO COUNTY, TEXAS

                 DEFENDANT MELANIE LABRIE’S ORIGINAL ANSWER

         COMES NOW, MELANIE LABRIE (“Defendant”) and files this her Original Answer,

and shows the following:

                                            I.
                                      GENERAL DENIAL

         Defendant generally denies Plaintiff’s allegations as authorized by Texas Rules of Civil

Procedure. Defendant demands that Plaintiff be required to prove the claims against it in

accordance with the burdens of proof made applicable by law.

                                                II.
                                              PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendant MELANIE LABRIE

respectfully requests that Plaintiff take nothing by this suit, that Defendant recover her costs and

attorneys’ fees, and for such other and further relief to which Defendant may be justly entitled.




DEFENDANT MELANIE LABRIE’S ORIGINAL ANSWER                                                   PAGE 1
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                                                                                       Accepted by: Norma Harlow


                                                  Respectfully submitted,

                                                  COBB MARTINEZ WOODWARD PLLC


                                                  By:        /s/ David R. Woodward
                                                        DAVID R. WOODWARD
                                                        Texas Bar No. 21975650

                                                        JEFFREY I. NICODEMUS
                                                        Texas Bar No. 24007748

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                                                  dwoodward@cobbmartinez.com
                                                  jnicodemus@cobbmartinez.com

                                                  ATTORNEYS FOR DEFENDANT
                                                  MELANIE LABRIE

                                  CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the above and foregoing instrument has been
served on all counsel of record via e-service on this 2nd day of October, 2017.

Douglas E. Pennebaker
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COUNSEL FOR PLAINTIFF

                                                          /s/ Jeffrey I. Nicodemus
                                                     JEFFREY I. NICODEMUS




DEFENDANT MELANIE LABRIE’S ORIGINAL ANSWER                                                  PAGE 2
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